        Case 1:21-cr-00091-RCL Document 144 Filed 05/08/23 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )             No. 21-cr-91 (RCL)
                                          )
ISAAC STURGEON,                           )
                                          )
            Defendant                     )
__________________________________________)

    DEFENSE RESPONSE TO GOVERNMENT MOTION IN LIMINE
REGARDING CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESS

       Mr. Sturgeon, through counsel, submits this response to the government’s

Motion in Limine. ECF No. 137 (“Gov. Mot.). 1




1
 Undersigned counsel has conferred with counsel for Mr. Bingert, who requests to join in
this response.

                                            1
        Case 1:21-cr-00091-RCL Document 144 Filed 05/08/23 Page 2 of 4




                                   ARGUMENT

       The government seeks a ruling that would preclude evidence concerning “the

protocols of the U.S. Secret Service (“USSS”).” Specifically, the government seeks to

limit the defense’s cross examination of their Secret Service witness to questioning

the agent solely about his/her duty to protect the Vice President and his family.

Gov. Mot. at 2. The government seeks to exclude, however, testimony about USSS

protocols related to “the locations where protectees or their motorcades are taken at

the Capitol or other government buildings…..and details about the nature of USSS

protective details.” Id.

       It is somewhat unclear exactly what relief the government seeks but to the

extent that it seeks to preclude any information about the location of former Vice

President Pence on January 6, 2021, its request should be denied as it was

previously denied by the court in U.S. v. Griffin, 21-cr-92 (TNM), ECF No. 92. In

Griffin, the government sought a similar exclusion and the court ruled that the

defense was permitted to probe the USSS witness as to the location of Mike Pence

and that any security related concern by the government did not override the

defendant’s Sixth Amendment rights. Id. (citing United States v. Foster, 986 F.2d

541, 543 (D.C. Cir. 1993) (“The more important the witness is to the government’s

case, the more important the defendant’s right….to cross-examine the witness)). See

also U.S. v. Thomas Webster, 21-cr-208 (APM), ECF No. 75 (court also allowing

defense to cross-examine USSS about location of former Vice President at the times



                                          2
        Case 1:21-cr-00091-RCL Document 144 Filed 05/08/23 Page 3 of 4




relevant to the defendant’s charges).

      As the court in Griffin explained, this information is directly relevant to

whether or not the defendant was entering or remaining in a restricted area where

the Vice President was temporarily visiting. An attempt to preclude cross-

examination on that point would violate Mr. Sturgeon’s Sixth Amendment right to

confront the witnesses against him.

      As to the other government requests to preclude questioning on (1) other

buildings where emergencies occur - where the motorcades are taken in those

situations, and (2) details about the number and types of agents the Secret service

assigns to protectees – Mr. Sturgeon does not anticipate questions of this nature.

However, if it becomes relevant based on the government’s presentation of evidence,

the defense will advise the Court in advance.

                                 Conclusion

      For the foregoing reasons, the Court should partially deny the government’s

motion in accordance with the above arguments.


                                                     Respectfully submitted,

                                                     A.J. KRAMER
                                                     FEDERAL PUBLIC
                                                     DEFENDER

                                                     ______/s/__________________
                                                     Maria N. Jacob
                                                     Ned Smock
                                                     Assistant Federal Public
                                                     Defenders
                                                     625 Indiana Ave., N.W., Suite
                                                     550

                                          3
Case 1:21-cr-00091-RCL Document 144 Filed 05/08/23 Page 4 of 4




                                       Washington, D.C. 20004
                                       (202) 208-7500




                              4
